      Case 3:22-cv-00385 Document 43 Filed 04/21/23 Page 1 of 1 PageID #: 400




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT HUNTINGTON

 LINDA MOORE, individually and on
 behalf of all similarly situated insureds,

          Plaintiff,
                                                                Civil Action No. 3:22-CV-00385
 v.

 INDIAN HARBOR INSURANCE
 COMPANY, NEPTUNE FLOOD
 INCORPORATED, and PENINSULA
 INSURANCE BUREAU, INC.,

          Defendants.


                                  CERTIFICATE OF SERVICE

         I, Brent K. Kesner, counsel for Plaintiff, do hereby certify that on the 21st day of April,
2023, I electronically filed the CERTIFICATE OF SERVICE for PLAINTIFF’S THIRD SET
OF REQUESTS FOR PRODUCTION                         OF DOCUMENTS            AND THINGS TO
DEFENDANTS with the Clerk of the Court using the CM/ECF system and emailed and mailed a
true and exact copy of the document in its entirety to counsel of record in a properly addressed
envelope, postage prepaid, and depositing the same in the regular course of the United States mail
to:
      Matthew A. Nelson, Esq.
      Michael P. Markins, Esq.
                                                              Andrew B. Cooke, Esq.
      LEWIS BRISBOIS BISGAARD &
                                                              Thomas Combs & Spann, PLLC
      SMITH LLP
                                                              300 Summers Street, Suite 1300
      707 Virginia Street, East, Suite 1400
                                                              Charleston, WV 25338
      Charleston, WV 25301
                                                              acook@tcspllc.com
      matt.nelson@lewisbrisbois.com
      michael.markins@lewisbrisbois.com


                                                      /s/
                                                      Brent K. Kesner (WVSB #2022)




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